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                                       ORDERED.


      Dated: November 04, 2019




                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION
                                   www.flmb.uscourts.gov


In re :                                              Case No. 6:19-bk-02428-KSJ
                                                     Chapter 7
Maria Rivera,

                      Debtor(s).
______________________________/


     AGREED ORDER GRANTING TRUSTEE’S MOTION TO APPROVE SALE OF
      ESTATE’S INTEREST IN REAL ESTATE IN ORANGE COUNTY, FLORIDA

                 This case came before the Court on Trustee’s Motion for Order Approving Sale of
Estate’s Interest in Real Estate in Orange County, Florida, dated October 7, 2019 (docket no. 44),
and Deutsche Bank National Trust Company’s Limited Objection to Motion for Order Approving
Sale of Estate’s Interest in Real Estate in Orange County, Florida, dated October 25, 2019 (docket
no. 45). Said Motion was served upon all interested parties with the Local Rule 2002-4 negative
notice legend informing the parties of their opportunity to respond within 21 days of the date of
service; and no party has filed a response within the time permitted, aside from the objection noted
above.      Therefore, the Court considers the matter to be unopposed, and having reviewed the
Motion, the file, and being otherwise apprised of the matter,
          Accordingly, it is




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       ORDERED that the Trustee’s Motion for Order Approving Sale of Estate’s Interest in Real
       Estate in Orange County, Florida, is granted, and the Trustee is authorized to sell the estate’s
       interest in said property, as follows :


   1. The property to be sold is more particularly described as :
       Lot 20, Block 7, TANGELO PARK SECTION FIVE, according to the plat thereof as
       recorded in Plat Book Y, Page 61, Public Records of Orange County, Florida.

       Parcel ID 30-23-29-8557-07200
       a/k/a 4903 Polaris St., Orlando, FL 32819


   3. The property shall be sold to the following buyer for the sales price indicated :

                                                                         Sales Price
   Adiken LLC                                                            $115,800.00
   3956 Town Center Blvd., Unit 272
   Orlando, FL 32837

   4. The Trustee has authorized to pay from the sales price, normal closing costs and sums
necessary to satisfy an existing mortgage, child support judgment (if necessary), certified judgment (if
necessary), and 2019 real estate taxes, as described in the Motion.
   5. Prior to the closing of the anticipated sale, an updated payoff as to Deutsche Bank National
Trust Co.’s mortgage shall be ordered and the same shall be paid in full upon the closing of the sale.
   6. Trustee is authorized to transfer title to the property by Trustee’s Deed, conveying the interest
of the estate, subject to current taxes, assessments, zoning, restrictions, and other requirements
imposed by governmental authorities, restrictions and other matters appearing on the plat or otherwise
common to the subdivision, and public utility easements of record.
   7. The Estate shall provide to buyer, a certified copy of the Order approving sale, certified copy of
Notice of Commencement and certified copy of docket, reflecting no objection to the sale, or if any,
that said objections have been overruled by Court Order.
   8. Under separate application, a realtor’s commission of $6,948.00, may be sought for approval.
   9. The 14-day stay pursuant to Rule 6004(h) is hereby waived.




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                  /s/ Kristen L. Henkel                 /s/ April Harriott
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Attorney Kristen L. Henkel is directed to serve a copy of this Order on interested parties who do not
receive service on CM/ECF and file a proof of service within 3 days of entry of the Order.




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